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                 Presentment Date and Time: August 29, 2017 at 10:00 a.m. (prevailing Eastern Time)
                         Objection Deadline: August 28, 2017 at 4:00 p.m. (prevailing Eastern Time)

 James H.M. Sprayregen, P.C.
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 Counsel to the Reorganized Debtors

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                 )
 In re:                                                          ) Chapter 11
                                                                 )
 ANSWERS HOLDINGS, INC., et al., 1                               ) Case No. 17-10496 (SMB)
                                                                 )
                           Reorganized Debtors.                  ) (Jointly Administered)
                                                                 )




 1
     The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
     federal tax identification number, include: Answers Holdings, Inc. (4504); Answers Corporation (2855); Easy2
     Technologies, Inc. (2839); ForeSee Results, Inc. (3125); ForeSee Session Replay, Inc. (2593); More Corn, LLC
     (6193); Multiply Media, LLC (8974); Redcan, LLC (7344); RSR Acquisition, LLC (2256); Upbolt, LLC
     (2839); and Webcollage Inc. (7771). The location of Reorganized Debtor Webcollage Inc.’s principal place of
     business and the Reorganized Debtors’ service address in the Chapter 11 Cases is: 11 Times Square, 11th
     Floor, New York, New York 10018.
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              NOTICE OF PRESENTMENT OF APPLICATION FOR
       FINAL DECREE CLOSING THE CHAPTER 11 CASES PURSUANT TO
   SECTION 350(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022

          PLEASE TAKE NOTICE that on August 15, 2017, Answers Holdings, Inc. and its

 affiliated debtors in the above-captioned chapter 11 cases, as debtors and debtors in possession

 (collectively, the “Debtors,” and on and after April 14, 2017, the “Reorganized Debtors”), filed

 the Application for Final Decree Closing the Chapter 11 Cases Pursuant to Section 350(a) of the

 Bankruptcy Code and Bankruptcy Rule 3022 (the “Application”). The Application will be

 presented for signature to the Honorable Stuart M. Bernstein of the United States Bankruptcy

 Court for the Southern District of New York (the “Court”), in Room 723, One Bowling Green,

 New York, New York 10004-1408, on August 29, 2017, at 10:00 a.m. (prevailing Eastern

 Time).

          PLEASE TAKE FURTHER NOTICE that any responses or objections to the

 Application (each, an “Objection”) shall be in writing, shall conform to the Federal Rules of

 Bankruptcy Procedure and the Local Bankruptcy Rules for the Southern District of New York,

 and shall be filed with the Court (a) by registered users of the Bankruptcy Court’s case filing

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 http://www.nysb.uscourts.gov) and (b) by all other parties in interest, on a CD-ROM, in

 text-searchable portable document format (PDF) (with a hard copy delivered directly to

 Chambers as set forth in the Case Management Order), in accordance with the customary

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 served—so as to be actually received no later than August 28, 2017, at 4:00 p.m. (prevailing

 Eastern Time) (the “Objection Deadline”)—on each of the following parties:




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                a.      Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York
                        10022 (Attn: Jonathan Henes, P.C., Esq., Christopher T. Greco, Esq., and
                        John T. Weber, Esq.);

                b.      The United States Trustee for Region 2, 201 Varick Street, Suite 1006,
                        New York, NY 10014 (Attn: Susan D. Golden, Esq.);

                c.      all parties required to receive notice under the Confirmation Order
                        [Docket No. 120]; and

                d.      all those persons and entities that have formally requested notice by filing
                        a written request for notice, pursuant to Federal Rule of Bankruptcy
                        Procedure 2002 and the Local Bankruptcy Rules for the Southern District
                        of New York.

          PLEASE TAKE FURTHER NOTICE that if no Objections or other responses are

 timely filed and served with respect to the Application, the Reorganized Debtors shall, on or

 after the Objection Deadline, submit to the Court an order substantially in the form attached to

 the Application, which order the Court may enter without further notice or opportunity to be

 heard.

          PLEASE TAKE FURTHER NOTICE that in the event any Objections to the

 Application are timely filed and served on or before the Objection Deadline as set forth herein, a

 hearing to consider the Application with respect to any Objection to the Application shall be

 scheduled by the Court.




                            [Remainder of page intentionally left blank.]




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 Dated: August 15, 2017         /s/ Christopher T. Greco
 New York, New York             James H.M. Sprayregen, P.C.
                                Jonathan S. Henes, P.C.
                                Christopher T. Greco
                                Anthony R. Grossi
                                John T. Weber
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                                Counsel to the Reorganized Debtors
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                                                  Pg 5 of 125


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     Counsel to the Reorganized Debtors

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                         )
     In re:                                                              )   Chapter 11
                                                                         )
     ANSWERS HOLDINGS, INC., et al., 1                                   )   Case No. 17-10496 (SMB)
                                                                         )
                                       Reorganized Debtors.              )   (Jointly Administered)
                                                                         )

                         APPLICATION FOR FINAL DECREE
                 CLOSING THE CHAPTER 11 CASES PURSUANT TO
      SECTION 350(a) OF THE BANKRUPTCY CODE AND BANKRUPTCY RULE 3022




 1
       The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
       federal tax identification number, include: Answers Holdings, Inc. (4504); Answers Corporation (2855); Easy2
       Technologies, Inc. (2839); ForeSee Results, Inc. (3125); ForeSee Session Replay, Inc. (2593); More Corn, LLC
       (6193); Multiply Media, LLC (8974); Redcan, LLC (7344); RSR Acquisition, LLC (2256); Upbolt, LLC (2839);
       and Webcollage Inc. (7771). The location of Reorganized Debtor Webcollage Inc.’s principal place of business
       and the Reorganized Debtors’ service address in the Chapter 11 Cases is: 11 Times Square, 11th Floor, New
       York, New York 10018.
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        The above-captioned debtors and debtors in possession (collectively, the “Debtors” and,

 on and after April 14, 2017, the “Reorganized Debtors”) submit this application

 (the “Application”) for entry of a final decree, substantially in the form attached hereto as

 Exhibit A, closing their chapter 11 cases.

                                          Relief Requested

        1.      By this Application, the Reorganized Debtors respectfully request that this Court

 enter a final decree, substantially in the form attached hereto as Exhibit A, closing their chapter 11

 cases as set forth in Exhibit 1 and terminating the appointment and services of Rust

 Consulting/Omni Bankruptcy (“Omni”) as claims, noticing, and solicitation agent for the

 Reorganized Debtors.

                                              Jurisdiction

        2.      This court (the “Court”) has jurisdiction over this matter pursuant to

 28 U.S.C. § 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

        3.      Venue is proper in this Court under 28 U.S.C §§ 1408 and 1409. In addition,

 pursuant to the Confirmation Order (as defined herein), this Court has retained jurisdiction to enter

 a final decree closing these chapter 11 cases.

        4.      The statutory basis for the relief requested herein is section 350(a) of title 11 of the

 United States Code (the “Bankruptcy Code”), Rule 3022 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), and Rule 3022-1 of the Local Bankruptcy Rules for the

 Southern District of New York (the “Local Bankruptcy Rules”).

                                              Background

        5.      On March 3, 2017 (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. On April 10, 2017, the Court entered




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 the Order Approving the Debtors’ Disclosure Statement for, and Confirming, the Debtors’ Joint

 Prepackaged Chapter 11 Plan [Docket No. 120] (the “Confirmation Order”), thereby confirming

 the Joint Prepackaged Chapter 11 Plan of Reorganization for Answers Holdings, Inc. and its

 Debtor Affiliates [Docket No. 120, Ex. A] (the “Plan”). 2 The Plan was substantially consummated

 on April 14, 2017 (the “Effective Date”). As of the date hereof, the Reorganized Debtors have

 resolved all outstanding prepetition claims and made all distributions on account of such claims in

 a manner consistent with the Plan.

                                                 Basis for Relief

         6.       Section 350(a) of the Bankruptcy Code provides that “[a]fter an estate is fully

 administered and the court has discharged the trustee, the court shall close the case.” Bankruptcy

 Rule 3022, which implements section 350 of the Bankruptcy Code, further provides that “[a]fter

 an estate is fully administered in a chapter 11 reorganization case, the court, on its own motion or

 on motion of a party in interest, shall enter a final decree closing the case.”

         7.       The Advisory Committee Note to Bankruptcy Rule 3022 provides in pertinent part:

                  Factors that the court should consider in determining whether the
                  estate has been fully administered include (1) whether the order
                  confirming the plan has become final, (2) whether deposits required
                  by the plan have been distributed, (3) whether the property proposed
                  by the plan to be transferred has been transferred, (4) whether the
                  debtor or [its successor] has assumed the business or the
                  management of the property dealt with by the plan, (5) whether
                  payments under the plan have commenced, and (6) whether all
                  motions, contested matters, and adversary proceedings have been
                  finally resolved.




 2
     Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Plan.



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                   The court should not keep the case open only because of the
                   possibility that the court’s jurisdiction may be involved in the future.
                   A final decree closing the case . . . does not deprive the court of
                   jurisdiction to enforce or interpret its own orders and does not
                   prevent the court from reopening the case for cause pursuant to
                   § 350(b) of the Code.

         8.        Courts generally use the six factors listed in the Advisory Committee Note to

 determine whether a case has been fully administered. See, e.g., In re Aquatic Dev. Group, Inc.,

 352 F.3d 671, 676 (2d Cir. 2003); In re Kliegl Bros. Universal Elec. Stage Lighting Co., Inc., 238

 B.R. 531, 542 (Bankr. E.D.N.Y. 1999). The six factors, however, are merely guidelines that aid a

 court’s determination, and each of the factors need not be present before a court enters a final

 decree. See Kliegl Bros., 238 B.R. at 542; see also Walnut Assocs.v. Saidel, 164 B.R. 487 (E.D.

 Pa. 1994).

         9.        Here, the Court entered the Confirmation Order on April 10, 2017 and such order

 is a final order [Docket No. 120]. 3 Following entry of the Confirmation Order, the Reorganized

 Debtors worked diligently and in good faith to ensure that the conditions to the effectiveness of

 the Plan, as set forth in Article VIII of the Plan, were met, and on April 14, 2017, the Effective

 Date occurred and the Plan was substantially consummated [Docket No. 122].

         10.       All property contemplated to be transferred or distributed pursuant to the Plan has

 been transferred or disbursed to all creditors entitled to such distributions. Among other things,

 the Reorganized Debtors have:

               x   Paid cash to holders of Allowed Administrative Claims in full satisfaction of such
                   holders’ claims;

               x   Converted $25 million of the Allowed DIP Claims on a dollar for dollar basis into
                   the First Lien Exit Loans.



 3
     See Confirmation Order, at ¶ 97. Furthermore, no parties in interest have appealed the Confirmation Order.



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              x   Satisfied Allowed Priority Tax Claims in an amount equal to the amount of such
                  respective holders’ Allowed Priority Tax Claims or in an amount agreed to by
                  applicable Reorganized Debtors and such holders;

              x   Satisfied Allowed Class 1 - Other Secured Claims in full satisfaction of such
                  holders’ claims;

              x   Satisfied Allowed Class 2 - Other Priority Claims in full satisfaction of such
                  holders’ claims;

              x   Distributed to holders of Allowed Class 3 - First Lien Claims their pro rata share
                  of (i) 96% of the New Common Stock (subject to dilution on account of, to the
                  extent applicable, the MIP Equity, the Exit Commitment Equity, and the Warrant
                  Equity), and (ii) the Second Lien Exit Loans.

              x   Distributed to holders of Allowed Class 4 - Second Lien Claims their pro rata share
                  of (i) 4% of the New common Stock (subject to dilution on account of, to the extent
                  applicable, the MIP Equity, the Exit Commitment Equity, and the Warrant Equity),
                  and (ii) the Warrants;

              x   Continued to pay or treat Class 5 - General Unsecured Claims in the ordinary course
                  of business as if these chapter 11 cases had never been commenced;

              x   Provided holders of Class 6 - Intercompany Claims their treatment under the Plan;

              x   Reinstated Class 7 - Intercompany Interests pursuant to, and in accordance with,
                  the Plan;

              x   Cancelled Class 8 - Interests in Holdings; and

              x   Notwithstanding Section 7.1 of the Plan that provided the holders of Claims against
                  the Debtors’ estates that did not need to file Proofs of Claim, twenty-two (22)
                  Proofs of Claims were filed against the Debtors totaling in the aggregate
                  approximately $174,586.19. As of the date hereof, all twenty-two (22) Proofs of
                  Claims have been withdrawn. Annexed hereto as Exhibit B are the Notices of
                  Withdrawal for each of the twenty-two (22) Proofs of Claim that were filed against
                  the Debtors’ estates.

        11.       As of the date hereof, all motions, contested matters, and adversary proceedings

 have also been finally resolved.

        12.       The Reorganized Debtors also request that the Court close these chapter 11 cases

 in light of section 1930(a)(6) of title 28 of the U.S. Code, which requires that quarterly fees be

 paid to the United States Trustee after confirmation and consummation of a chapter 11 plan until


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 a debtor’s case is closed. Such fees are a financial burden on the Reorganized Debtors and

 approval of this Application would result in the Reorganized Debtors saving approximately

 $30,000 per quarter. As of the date hereof, the Reorganized Debtors have paid all fees due and

 payable pursuant to section 1930(a)(6) of title 28 of the United States Code. The Reorganized

 Debtors will make any final payments due to the Office of the United States Trustee in connection

 with this Motion. Based on the foregoing, ample justification exists for entry of a final decree

 closing these chapter 11 cases.

                                         The Closing Report

        13.     In accordance with the requirements of Local Bankruptcy Rule 3022-1, attached

 hereto as Exhibit C is a copy of the closing report, which includes a summary of the fees and

 expenses awarded to the professionals retained by the Reorganized Debtors during these chapter

 11 cases, as well as additional information regarding distributions made pursuant to the Plan.

                                                Notice

        14.     The Debtors have provided notice of this Application to: (a) the Office of the U.S.

 Trustee for the Southern District of New York; (b) all parties required to receive notice under the

 Confirmation Order; and (c) those parties requesting notice pursuant to Bankruptcy Rule 2002. In

 light of the nature of the relief requested, the Debtors respectfully submit that no further notice is

 necessary.



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        WHEREFORE, for the reasons set forth herein, the Reorganized Debtors respectfully

 request that the Court enter a final decree, substantially in the form attached hereto as Exhibit A,

 granting the relief requested herein and granting such other and further relief as the Court deems

 appropriate.

  New York, New York                        /s/ Christopher T. Greco
  Dated: August 15, 2017                    James H.M. Sprayregen, P.C.
                                            Jonathan S. Henes, P.C.
                                            Christopher T. Greco
                                            Anthony R. Grossi
                                            John T. Weber
                                            KIRKLAND & ELLIS LLP
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                                            Counsel to the Reorganized Debtors




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 IHHV WKH 5HRUJDQL]HG 'HEWRUV VLPXOWDQHRXVO\ VKDOO SURYLGH WR WKH 8QLWHG 6WDWHV 7UXVWHH DQ

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 WKHQRWLFHDQGFODLPVDJHQWWKH³Claims Agent´VKDOOEHWHUPLQDWHGHIIHFWLYHGD\VIURPWKH

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 Office´SXUVXDQWWRWKH-XGLFLDO&RQIHUHQFH*XLGHOLQHVIRUWKH,PSOHPHQWDWLRQRIVHFWLRQF




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 XQGHOLYHUDEOHPDLO8SRQ&ODLPV$JHQW¶VWUDQVPLVVLRQRIWKHILQDOFODLPVUHJLVWHUWRWKH&RXUW

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 DXWKRUL]HGWRLQYRLFHWKH5HRUJDQL]HG'HEWRUVLQWKHRUGLQDU\FRXUVHRIEXVLQHVVIRUDQ\RWKHU

 VHUYLFHVLWFRQWLQXHVWRSURYLGHWRWKH5HRUJDQL]HG'HEWRUVLQFOXGLQJZLWKUHVSHFWWRGLVWULEXWLRQV

 XQGHUWKH5HRUJDQL]HG'HEWRUV¶FKDSWHUSODQ

              7KH5HRUJDQL]HG'HEWRUVDUHDXWKRUL]HGWRWDNHDOODFWLRQVQHFHVVDU\WRHIIHFWXDWH

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     $QVZHUV&RUSRUDWLRQ                                           60%
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF NEW YORK


 In re:                                                         Chapter 11

 ANSWERS HOLDINGS, INC., et al., 1                              Case No. 17-10496 (SMB)

                                                                Jointly Administered

          Debtors.                                              Related to Docket No. 125
                                              /

            NOTICE OF WITHDRAWAL OF: (A) NECC ASSOCIATES, LLC’s
       (I) REQUEST FOR RECONCILIATION AND PAYMENT OF CURE CLAIM;
      AND (II) LIMITED OBJECTION TO ASSUMPTION OF UNEXPIRED LEASE OF
           NONRESIDENTIAL REAL PROPERTY; AND (B) PROOF OF CLAIM

          NECC Associates, LLC, a creditor herein (“NECC”), hereby withdraws:

          1.          NECC’s (i) Request for Reconciliation and Payment of Cure Claim; and (ii)

 Limited Objection to Assumption of Unexpired Lease of Nonresidential Real Property, as filed on

 May 8, 2017 [Docket No. 125]; and

          2.          NECC’s Proof of Claim [Claim No. 1], as filed on May 11, 2017 in the Chapter

 11 case of Debtor ForeSee Results, Inc., Case No. 17-10500.




  1    The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number, include: Answers Holdings, Inc. (4504); Answers Corporation (2855); Easy2 Technologies, Inc.
       (2839); ForeSee Results, Inc. (3125); ForeSee Session Replay, Inc. (2593); More Corn, LLC (6193); Multiply
       Media, LLC (8974); Redcan, LLC (7344); RSR Acquisition, LLC (2256); Upbolt, LLC (2839); and
       Webcollage Inc. (7771). The location of Debtor Webcollage Inc.’s principal place of business and the Debtors’
       service address in these chapter 11 cases is: 11 Times Square, 11th Floor, New York, New York 10018.




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  Date: July 25, 2017           HONIGMAN MILLER SCHWARTZ AND COHN LLP
                                Attorneys for NECC Associates, LLC

                                By: /s/ E. Todd Sable
                                    E. Todd Sable (MI Bar No. P54956)
                                    Lawrence A. Lichtman (MI Bar No. P35403)
                                2290 First National Building
                                660 Woodward Avenue
                                Detroit, MI 48226
                                Telephone: (313) 465-7548
                                Facsimile: (313) 465-7549
                                Email: tsable@honigman.com
                                         llichtman@honigman.com




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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK


 In re:                                                        Chapter 11

 ANSWERS HOLDINGS, INC., et al., 1                             Case No. 17-10496 (SMB)

                                                               Jointly Administered

          Debtors.                                             Related to Docket Nos. 125
                                             /

                                      CERTIFICATE OF SERVICE

        The undersigned certifies that on July 25, 2017, NECC Associates, LLC’s Notice of
   Withdrawal of: (A) NECC Associates, LLC’s (I) Request For Reconciliation And Payment
   Of Cure Claim; and (II) Limited Objection to Assumption of Unexpired Lease of
   Nonresidential Real Property; and (B) Proof Of Claim was filed with the Court using the ECF
   system which will send notice of such filing to all interested parties registered to receive notice.

                                    HONIGMAN MILLER SCHWARTZ AND COHN LLP
                                    Attorneys for NECC Associates, LLC

   July 25, 2017         By: /s/ E. Todd Sable
                                 E. Todd Sable (MI Bar No. P54956)
                                 Lawrence A. Lichtman (MI Bar No. P35403)
                         660 Woodward Avenue
                         2290 First National Building
                         Detroit, MI 48226
                         Telephone: (313) 465-7548
                         Facsimile: (313) 465-7549
                         Email: tsable@honigman.com
                                 llichtman@honigman.com
 _________________________
  1   The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Answers Holdings, Inc. (4504); Answers Corporation (2855); Easy2 Technologies, Inc.
      (2839); ForeSee Results, Inc. (3125); ForeSee Session Replay, Inc. (2593); More Corn, LLC (6193); Multiply
      Media, LLC (8974); Redcan, LLC (7344); RSR Acquisition, LLC (2256); Upbolt, LLC (2839); and
      Webcollage Inc. (7771). The location of Debtor Webcollage Inc.’s principal place of business and the Debtors’
      service address in these chapter 11 cases is: 11 Times Square, 11th Floor, New York, New York 10018.




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 Amish R. Doshi, Esq.                             Hearing Date: TBD, if necessary
 MAGNOZZI & KYE, LLP                              Hearing Time: TBD, if necessary
 23 Green Street, Suite 302                       Objection Date: TBD
 Huntington, New York 11743
 Telephone: (631) 923-2858

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                  Chapter 11
 In re:
                                                  Case No. 17-10496 (SMB)
 ANSWERS HOLDINGS, INC., et. al.,
                                                  Jointly Administered
                             Debtors.


    ORACLE AMERICA, INC.’S WITHDRAWAL OF REQUEST FOR PAYMENT OF
     CURE AND LIMITED OBJECTION TO ASSUMPTION OF ITS CONTRACTS

          PLEASE TAKE NOTICE that Oracle America, Inc., hereby withdraws its Request for

 Payment of Cure and Limited Objection to Assumption of Its Contracts (CM ECF # 127] filed on

 May 12, 2017.

 Dated: July 27, 2017                      Respectfully submitted,
        Huntington, New York

                                           By:    /s/ Amish R. Doshi___
                                           Amish R. Doshi, Esq.
                                           MAGNOZZI & KYE, LLP
                                           23 Green Street, Suite 302
                                           Huntington, New York 11743
                                           Telephone: (631) 923-2858
                                           Email:      adoshi@magnozzikye.com

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                                           55 Second Street, 17th Floor
                                           San Francisco, California 94105-2130
                                           Telephone: (415) 227-0900

                                           Deborah Miller, Esq. (CSB# 95527)
                                           Alice Miller, Esq. (CSB# 286596)
                                           ORACLE AMERICA, INC.
                                           500 Oracle Parkway
                                           Redwood City, California 94065
                                           Telephone: (650) 506-5200
                                           Attorneys for Oracle America, Inc.
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 Amish R. Doshi, Esq.                             Hearing Date: TBD, if necessary
 MAGNOZZI & KYE, LLP                              Hearing Time: TBD, if necessary
 23 Green Street, Suite 302                       Objection Date: TBD
 Huntington, New York 11743
 Telephone: (631) 923-2858

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                  Chapter 11
 In re:
                                                  Case No. 17-10496 (SMB)
 ANSWERS HOLDINGS, INC., et. al.,
                                                  Jointly Administered
                             Debtors.


    ORACLE AMERICA, INC.’S WITHDRAWAL OF REQUEST FOR PAYMENT OF
     CURE AND LIMITED OBJECTION TO ASSUMPTION OF ITS CONTRACTS

          PLEASE TAKE NOTICE that Oracle America, Inc., hereby withdraws its Request for

 Payment of Cure and Limited Objection to Assumption of Its Contracts (CM ECF # 127] filed on

 May 12, 2017.

 Dated: July 27, 2017                      Respectfully submitted,
        Huntington, New York

                                           By:    /s/ Amish R. Doshi___
                                           Amish R. Doshi, Esq.
                                           MAGNOZZI & KYE, LLP
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                                           Huntington, New York 11743
                                           Telephone: (631) 923-2858
                                           Email:      adoshi@magnozzikye.com

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                                           BUCHALTER, A Professional Corporation
                                           55 Second Street, 17th Floor
                                           San Francisco, California 94105-2130
                                           Telephone: (415) 227-0900

                                           Deborah Miller, Esq. (CSB# 95527)
                                           Alice Miller, Esq. (CSB# 286596)
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                                           Telephone: (650) 506-5200
                                           Attorneys for Oracle America, Inc.
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 James H.M. Sprayregen, P.C.
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 - and -
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 San Francisco, California 94104
 Telephone:     (415) 439-1400
 Facsimile:     (415) 439-1500


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                      )
 In re:                                                               )    Chapter 11
                                                                      )
 ANSWERS HOLDINGS, INC., et al.,1                                     )    Case No. 17-10496 (SMB)
                                                                      )
                                     Reorganized Debtors.             )    (Jointly Administered)
                                                                      )

     NOTICE OF WITHDRAWAL OF NATIONAL UNION FIRE INSURANCE COMPANY
                        OF PITTSBURGH, PA. CLAIM

      PLEASE TAKE NOTICE that the claim filed by National Union Fire Insurance
 Company of Pittsburgh, PA., Illinois National Insurance Company, AIG Specialty Insurance
 Company, American Home Assurance Company, and certain other entities related to AIG

 1
      The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
      identification number, include: Answers Holdings, Inc. (4504); Answers Corporation (2855); Easy2
      Technologies, Inc. (2839); ForeSee Results, Inc. (3125); ForeSee Session Replay, Inc. (2593); More Corn, LLC
      (6193); Multiply Media, LLC (8974); Redcan, LLC (7344); RSR Acquisition, LLC (2256); Upbolt, LLC
      (2839); and Webcollage Inc. (7771). The location of Reorganized Debtor Webcollage Inc.’s principal place of
      business and the Reorganized Debtors’ service address in these chapter 11 cases is: 11 Times Square, 11th
      Floor, New York, New York 10018.
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 Property Casualty Inc. (collectively, “AIG”), claim no. 5, attached hereto as Exhibit A, and filed
 on April 3, 2017 in the above captioned bankruptcy cases, Case No. 17-10496, for the amount of
 $8,473.00 (the “Claim”) is hereby withdrawn with prejudice. AIG hereby reserves all rights in
 connection with its Claim, including its right to seek collection of its claim.




 New York, New York
 Dated: July 11, 2017                           By: Kevin Larner
                                                Title: Authorized Representative

                                                AIG Property Casualty Inc.




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                                   EXHIBIT A

                                 Withdrawn Claim
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Proof of Claim                                                                                                                                          12/15
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact LQIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\RQWKLVIRUPRURQDQ\DWWDFKHGGRFXPHQWV$WWDFKUHGDFWHGFRSLHVRIDQ\
GRFXPHQWVWKDWVXSSRUWWKHFODLPVXFKDVSURPLVVRU\QRWHVSXUFKDVHRUGHUVLQYRLFHVLWHPL]HGVWDWHPHQWVRIUXQQLQJDFFRXQWVFRQWUDFWVMXGJPHQWV
PRUWJDJHVDQGVHFXULW\DJUHHPHQWV Do not send original documents; WKH\PD\EHGHVWUR\HGDIWHUVFDQQLQJ,IWKHGRFXPHQWVDUHQRWDYDLODEOH
H[SODLQLQDQDWWDFKPHQW
$SHUVRQZKRILOHVDIUDXGXOHQWFODLPFRXOGEHILQHGXSWRLPSULVRQHGIRUXSWR\HDUVRUERWK86&DQG
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.
Carefully read instructions included with this Proof of Claim before completing.




  Part 1:      Identify the Claim
1. Who is the current creditor?           1DPHRIWKHFXUUHQWFUHGLWRU                      NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURG
                                          WKHSHUVRQRUHQWLW\WREHSDLGIRUWKLVFODLP

                                          2WKHUQDPHVWKHFUHGLWRUXVHGZLWKWKHGHEWRU


2. Has this claim been acquired             1R
   from someone else?                        <HV    )URPZKRP"

3. Where should notices and              Where should notices to the creditor be sent?                 Where should payments to the creditor be sent? (if
   payments to the creditor be                                                                         different)
   sent?
                                           AIG PROPERTY CASUALTY, INC., ATTN: KEVIN J. LA
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   )5%3J
                                            175 WATER STREET, 15TH FLOOR


                                            NEW YORK, NY 10038


                                                              458-7101
                                          &RQWDFW3KRQH                                                 &RQWDFW3KRQH

                                          &RQWDFWHPDLO       KEVIN.LARNER@AIG.COM                      &RQWDFWHPDLO

                                          8QLIRUPFODLPLGHQWLILHUIRUHOHFWURQLFSD\PHQWVLQFKDSWHULI\RXXVHRQH



4. Does this claim amend one                 1R
   already filed?                            <HV       &ODLP1XPEHURQFRXUWFODLPVUHJLVWU\LINQRZQ                     )LOHG2Q
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5. Do you know if anyone else
                                             1R
   has filed a proof of claim for
   this claim?                               <HV     :KRPDGHWKHHDUOLHUILOLQJ"
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   Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number you          1R
   use to identify the debtor?                                                                                                            0496
                                        <HV     /DVWGLJLWVRIWKHGHEWRU
VDFFRXQWRUDQ\QXPEHU\RXXVHWRLGHQWLI\WKHGHEWRU


7. How much is the claim?                    8473.00                                  Does this amount include interest or other charges?
                                                                                           1R
                                                                                           <HV      $WWDFKVWDWHPHQWLWHPL]LQJLQWHUHVWIHHVH[SHQVHVRURWKHU
                                                                                                    FKDUJHVUHTXLUHGE\%DQNUXSWF\5XOHF$


8. What is the basis of the              ([DPSOHV*RRGVVROGPRQH\ORDQHGOHDVHVHUYLFHVSHUIRUPHGSHUVRQDOLQMXU\RUZURQJIXOGHDWKRUFUHGLWFDUG
   claim?
                                         $WWDFKUHGDFWHGFRSLHVRIDQ\GRFXPHQWVVXSSRUWLQJWKHFODLPUHTXLUHGE\%DQNUXSWF\5XOHF
                                         /LPLWGLVFORVLQJLQIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\VXFKDVKHDOWKFDUHLQIRUPDWLRQ
                                            SEE ATTACHED


9. Is all or part of the claim    1R
   secured?                       <HV       7KHFODLPLVVHFXUHGE\DOLHQRQSURSHUW\

                                          Nature of property:
                                               5HDO(VWDWH ,IWKHFODLPLVVHFXUHGE\WKHGHEWRU
VSULQFLSDOUHVLGHQFHILOHD Mortgage Proof of Claim
                                                            Attachment 2IILFLDO)RUP$ZLWKWKLV Proof of Claim
                                               0RWRU9HKLFOH

                                               2WKHU      'HVFULEH


                                            Basis for perfection:
                                            $WWDFKUHGDFWHGFRSLHVRIGRFXPHQWVLIDQ\WKDWVKRZHYLGHQFHRISHUIHFWLRQRIDVHFXULW\LQWHUHVWIRUH[DPSOH
                                            DPRUWJDJHOLHQFHUWLILFDWHRIWLWOHILQDQFLQJVWDWHPHQWRURWKHUGRFXPHQWWKDWVKRZVWKHOLHQKDVEHHQILOHGRU
                                            UHFRUGHG


                                            Value of Property:                                $
                                            Amount of the claim that is secured:              $

                                            Amount of the claim that is unsecured:            $                            7KHVXPRIWKHVHFXUHGDQG
                                                                                                                           XQVHFXUHGDPRXQWVVKRXOGPDWFKWKH
                                                                                                                           DPRXQWLQOLQH


                                            Amount necessary to cure any default as of the date of the petition:                $


                                            Annual Interest Rate:     ZKHQFDVHZDVILOHG       ____________%
                                               )L[HG
                                               9DULDEOH



10. Is this claim based on a      1R
    lease?                        <HV       Amount necessary to cure any default as of the date of the petition.               $

11. Is this claim subject to a    1R
    right of setoff?              <HV       ,GHQWLI\WKHSURSHUW\


12. Is this claim for the value   1R
    of goods received by the      <HV       $PRXQWRIE&ODLP $
    debtor 20 days before the
    commencement date of
    this case (11 U.S.C.
    §503(b)(9)).?
             17-10496-smb             Doc 163             Filed 08/15/17 Entered 08/15/17 17:55:07                                      Main Document
13. Is all or part of the claim      1R
                                                                      Pg 34 of 125                                                             Amount entitled to priority
    entitled to priority under       <HV      Check all that apply
    11 U.S.C. § 507(a)?
                                          'RPHVWLFVXSSRUWREOLJDWLRQVLQFOXGLQJDOLPRQ\DQGFKLOGVXSSRUWXQGHU
                                          86&D$RUD%                                                                  $
    $FODLPPD\EHSDUWO\
    SULRULW\DQGSDUWO\
                                          8SWRRIGHSRVLWVWRZDUGSXUFKDVHOHDVHRUUHQWDORISURSHUW\RUVHUYLFHVIRU
    QRQSULRULW\)RUH[DPSOH
                                          SHUVRQDOIDPLO\RUKRXVHKROGXVH86&D                                             $
    LQVRPHFDWHJRULHVWKH
    ODZOLPLWVWKHDPRXQW
                                          :DJHVVDODULHVRUFRPPLVVLRQVXSWRHDUQHGZLWKLQGD\VEHIRUHWKH
    HQWLWOHGWRSULRULW\
                                          EDQNUXSWF\SHWLWLRQLVILOHGRUWKHGHEWRU
VEXVLQHVVHQGVZKLFKHYHULVHDUOLHU                  $
                                          86&D

                                          7D[HVRUSHQDOWLHVRZHGWRJRYHUQPHQWDOXQLWV86&D                                   $

                                          &RQWULEXWLRQVWRDQHPSOR\HHEHQHILWSODQ86&D                                        $


                                          2WKHU6SHFLI\VXEVHFWLRQRI86&DBBBWKDWDSSOLHV                                     $

                                     $PRXQWVDUHVXEMHFWWRDGMXVWPHQWRQDQGHYHU\\HDUVDIWHUWKDWIRUFDVHVEHJXQRQRUDIWHUWKHGDWHRIDGMXVWPHQW




   Part 3:         Sign Below
The person completing             Check the appropriate box:
this proof of claim must
                                     ,DPWKHFUHGLWRU
sign and date it.    FRBP
9011(b).                             ,DPWKHFUHGLWRU
VDWWRUQH\RUDXWKRUL]HGDJHQW
                                     ,DPWKHWUXVWHHRUWKHGHEWRURUWKHLUDXWKRUL]HGDJHQW%DQNUXSWF\5XOH
,I\RXILOHWKLVFODLP
HOHFWURQLFDOO\)5%3                ,DPWKHJXDUDQWRUVXUHW\HQGRUVHURURWKHUFRGHEWRU%DQNUXSWF\5XOH
DDXWKRUL]HV
FRXUWVWRHVWDEOLVKORFDO        ,XQGHUVWDQGWKDWDQDXWKRUL]HGVLJQDWXUHRQWKLV Proof of Claim VHUYHVDVDQDFNQRZOHJPHQWWKDWZKHQFDOFXODWLQJWKH
UXOHVVSHFLI\LQJZKDWD
VLJQDWXUHLV                     DPRXQWRIWKHFODLPWKHFUHGLWRUJDYHWKHGHEWRUFUHGLWIRUDQ\SD\PHQWVUHFHLYHGWRZDUGWKHGHEW

                                  ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLV Proof of Claim DQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXH
A person who files a              DQGFRUUHFW
fraudulent claim could be
fined up to $500,000,             ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW
imprisoned for upt to 5
years, or both.                                        04/03/2017
18 U.S.C. §§ 152, 157, and        ([HFXWHGRQGDWH
3571.                                                  00''<<<<

                                  KEVIN J. LARNER

                                     6LJQDWXUH


                                  Print the name of the person who is completing and signing this claim:

                                                       KEVIN J. LARNER
                                  1DPH


                                                       AUTHORIZED REPRESENTATIVE
                                  7LWOH

                                                       AIG PROPERTY CASUALTY, INC.
                                  &RPSDQ\
                                                       ,GHQWLI\WKHFRUSRUDWHVHUYLFHUDVWKHFRPSDQ\LIWKHDXWKRUL]HGDJHQWLVDVHUYLFHU



                                  $GGUHVV                 175 WATER STREET, 15TH FLOOR
                                                          NEW YORK, NY 10038




                                                       458-7101                                                             KEVIN.LARNER@AIG.COM
                                  &RQWDFW3KRQH                                                          (PDLO
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                        UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 In re:                                                Chapter 11

 Answers Holdings, Inc., et al.                        Case No. 17-10496
                                        Debtors.


  ADDENDUM TO PROOF OF CLAIM OF NATIONAL UNION FIRE INSURANCE
 COMPANY OF PITTSBURGH, PA., ILLINOIS NATIONAL INSURANCE COMPANY,
   AIG SPECIALTY INSURANCE COMPANY, AMERICAN HOME ASSURANCE
                    COMPANY, AND CERTAIN OTHER
          ENTITIES RELATED TO AIG PROPERTY CASUALTY INC.

               National Union Fire Insurance Company of Pittsburgh, PA., Illinois National
 Insurance Company, AIG Specialty Insurance Company, American Home Assurance Company,
 and certain other entities related to AIG Property Casualty Inc. (collectively, “AIG”) that provide
 or provided insurance, insurance services and/or surety bonds to Answers Holdings, Inc. aka
 Answers.com, aka Multiply aka Multiply Media (collectively, “Debtors”) (see the List of
 Debtors attached hereto), hereby submit this addendum (the “Addendum”) to its proof of claim
 (the “Proof of Claim”).

               1.      As of March 03, 2017 (the “Petition Date”), the Debtors are indebted to
 AIG for premiums, deductibles, and other related fees, expenses and obligations for, among
 other things, insurance coverages and services provided and to be provided by AIG to the
 Debtors as more fully described below.

                2.      The Insurance Program. AIG provided the Debtors with certain
 insurance coverages, including, without limitation, directors and officers, liability, workmen’s
 compensation, and other services pursuant to various insurance policies and other agreements
 (collectively, the “Insurance Program”) for varying periods commencing March 17, 1999 and
 ending 12:01 a.m., April 14, 2017. Attached hereto is a list of the policies issued by AIG to the
 Debtors and certain related documentation. This claim is made for all obligations of the Debtors
 and other named insureds arising under the Insurance Program whether or not the relevant
 insurance policies and related agreements are specifically listed or described in the attached list
 or documents. Moreover, the documents which evidence the Insurance Program are voluminous
 and it is not practical to attach and/or list all of them. Nothing in this description of the
 Insurance Program or any of the attached documents is intended to vary, amend or alter in any
 way the terms, conditions, coverages, limitations, exclusions or dates of coverage of any policy
 or coverage.

               3.        Fidelity and Surety Bonds. AIG may have provided the Debtors with
 various surety, fidelity and other bonds for the account of the Debtors. Claim is asserted for all
 such bonds issued or outstanding and for all premiums, fees and expenses due thereunder,
 whether or not specifically listed or described in the attached documents. Nothing in this

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 description of the bond programs is intended to vary, amend or alter in any way the terms,
 conditions, coverages, limitations, exclusions or dates of coverage of any bond. Should AIG be
 called upon to pay on any such bond, AIG may amend this proof of claim to assert a claim on
 account of such payment.

               4.      Components of the Proof of Claim.

                       (a)     Liquidated Claim for the Insurance Program. Pursuant to the
 Insurance Program, the Debtors entered into certain agreements with AIG and are obligated to
 pay to AIG premium and reimburse AIG for AIG’s payment on claims up to the
 deductible/retention levels, as set forth in the various policies. Additionally, the Debtors are
 obligated to AIG with respect to any and all rights and entitlements that AIG has or may have in
 the future to audit premium, unpaid premium, breach of contract damages, indemnification,
 contribution, subrogation, reimbursement, unjust enrichment or other rights to payment,
 including, without limitation, damages, costs and expenses related thereto, including attorneys’
 fees, from the Debtors arising from or in connection with the Insurance Program. AIG’s claim
 includes certain of the amounts now liquidated and due. The tabulated and liquidated amount
 owed by the Debtors under the Insurance Program, as of the date hereof, is $8,473.00. This
 amount may be subject to adjustment based upon, among other things, loss experience and
 payments already made by or on behalf of the Debtors which we have not yet tabulated.

                       (b)      Unmatured and/or Unliquidated Claim for the Insurance
 Program. Pursuant to the Insurance Program, the Debtors entered into certain agreements and
 are obligated to pay to AIG, among other things, certain premiums, deductibles, self-insured
 retention, reimbursement obligations, fees, expenses and related costs that are not readily
 calculable as this time. Certain such amounts remain unmatured, contingent and/or unliquidated,
 and such amounts constitute AIG’s unliquidated claim. When the amount of premiums,
 deductibles, fees, expenses and other costs due under the Insurance Program, including, without
 limitation, damages that may arise from the rejection of the Insurance Program or any part
 thereof, are liquidated, become mature or are determined, such amounts shall become a
 liquidated claim. AIG expressly reserves the right to amend or supplement its Proof of Claim at
 any time, including after any bar date, for whatever reason, including without limitation, for the
 purpose of filing additional claims or to specify the amount of AIG’s unmatured, contingent
 and/or unliquidated claim as they become matured and/or liquidated.

                      (c)      Other Insurance or Services. To the extent AIG provides or
 provided any other or different insurance (including excess coverages or renewals of the
 Insurance Program), or other services to the Debtors, either included within or in addition to the
 Insurance Program, AIG hereby asserts a claim for all obligations of the Debtors to AIG arising
 thereunder, including, without limitation, premiums, deductibles, self-insured retention,
 reimbursement obligations, fees, expenses and other costs arising from such transactions, or from
 funds advanced or to be advanced on the Debtors’ behalf. Additionally, AIG reserves the right
 to amend this proof of claim to assert further amounts due or particulars in connection therewith.

                       (d)       Bond Obligations. To the extent of any bonds outstanding, the
 Debtors agreed to pay to AIG, among other things, any and all loss and expense, including,
 without limitation, attorneys' fees, incurred by AIG by reason of having issued any such bonds,


                                                 2
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 and losses incurred as a result of the issuance of any bonds. The amount presently due AIG with
 respect to any bonds is unliquidated and untabulated.

                        (e)     Quantum Meruit. To the extent any Debtors received a benefit
 from insurance or from bonds provided by AIG, such Debtors is obligated to pay AIG for the
 value of the benefits received.

                       (f)      Joint Liability. Should it be established in these bankruptcy cases
 or otherwise that any of the Debtors have liability for the obligations of any of the other Debtors,
 or of any other additional insureds under the Insurance Programs, then this Proof of Claim
 asserts the same claim as AIG asserted against each such Debtor against such other Debtors.
 This Proof of Claim shall be deemed filed in the bankruptcy cases of all jointly-liable Debtors
 and AIG’s failure to file this Proof of Claim in the bankruptcy cases of any jointly-liable Debtor
 shall in no way impact AIG’s right to assert its claim against all jointly-liable Debtors.

                       (g)      Indemnity Obligations. In the event the Debtors have entered
 into any agreement with AIG pursuant to which Debtors have a duty to indemnify AIG, a claim
 is made herein for such right to indemnity.

                       (h)      Other. In connection with the foregoing, Debtors also may be
 liable to AIG by virtue of relevant principles of contract and common law relating to, among
 other things, subrogation, suretyship, indemnification or contribution.

               5.     Right of Recoupment. AIG asserts the right to use funds paid to it on
 account of, among other things, the Insurance Program to recoup obligations of the Debtors
 arising from, among other things, the Insurance Program.

                6.      Security. To the extent AIG holds any cash or other collateral as security
 for its claim, regardless of whether such cash or collateral is property of the Debtors’ estates,
 AIG asserts a secured claim and/or a right of setoff and reserves its rights to collect against same
 by recoupment and/or setoff. Alternatively, or in addition, to the extent AIG holds an interest in
 any property of the Debtors, AIG asserts a security interest in same.

                7.       Interest. AIG claims all rights to claim interest to the extent permitted by
 law, including post-petition interest to the extent such interest is secured. To the extent this
 claim or any portion hereof, is unliquidated, appropriate interest (if any) remains unliquidated at
 this time. In preparing any tabulation of a liquidated claim, we will endeavor to include a
 tabulation of applicable interest to the extent dates of accrual of obligations can be readily
 ascertained. AIG reserves the right to amend such calculations and to claim additional interest as
 facts are learned, data compiled, and/or unliquidated claims become liquidated.

               8.       Voluminous Documents Not Attached. As indicated above, supporting
 documents for this Proof of Claim are voluminous. Additionally, supporting documents may
 contain confidential or privileged information. Supporting documents, including policies of
 insurance, are not attached, but may be made available upon request.

                9.      Administrative Expense. To the extent AIG’s claim against the Debtors
 relates to insurance coverage provided after the Petition Date, AIG is entitled to administrative


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 priority under 11 U.S.C. §§ 503(b)(1) and 507(a)(2). See In re MEI Diversified, Inc., 106 F.3d
 829, 832 (8th Cir. 1997) (holding that an insurance company’s claim for post-petition premium is
 entitled to administrative priority under section 503(b)(1) as an “actual, necessary” cost of
 preserving the bankruptcy estate); see also Metropolitan Ins. Co. v. Sharon Steel Corp. (In re
 Sharon Steel Corp.), 161 B.R. 934, 937 (Bankr. W.D. Pa. 1994); In re Gamma Fishing Co., 70
 B.R. 949, 953-54 (Bankr. S.D. Cal. 1987). Therefore, through this Proof of Claim, AIG also
 asserts an administrative expense claim for all services provided, risks insured or occurrences
 occurring after the Petition Date, all or a portion of which may be set forth in this Proof of
 Claim. To the extent any amounts set forth herein are entitled to administrative expense priority,
 AIG hereby requests immediate allowance and payment of its administrative expense. Any
 failure by AIG to specifically assert an administrative expense claim against the Debtors’ estates
 shall not be deemed a waiver by AIG of its right to payment of an administrative expense, said
 right being asserted herein and fully preserved.

               10.      Arbitration. The filing of this Proof of Claim is not intended to waive
 any right to arbitration. AIG expressly reserves the right to seek arbitration of any dispute
 arising in connection with this claim. To the extent of any pre-existing arbitration agreement
 between AIG and Debtors, this court's jurisdiction to resolve disputes should be limited to
 referring such disputes to arbitration and enforcing any arbitration award.

                11.      No Consent to Jurisdiction; No Waiver of Jury Trial. The filing of this
 Proof of Claim is not and shall not be deemed or construed as: (i) a consent to jurisdiction of this
 Court with respect to proceedings, if any, commenced in any of the Debtors’ cases involving the
 Proof of Claim or AIG; (ii) a waiver or release of AIG’s right to a trial by jury in this Court or
 any other court in any proceeding as to any and all matters so triable herein, whether or not the
 same be designated legal, public, or private rights in any case, controversy or proceeding related
 hereto, notwithstanding any designation of such matters as “core” proceedings pursuant to 28
 U.S.C. § 157(b)(2), and whether such jury trial right is pursuant to statute or the United States
 Constitution; (iii) a consent to this Court’s entry of final orders or judgments with respect to the
 Proof of Claim or any other matter involving AIG; (iv) a waiver of AIG’s right to have any and
 all orders and judgments of this Court reviewed de novo by a court duly authorized under Article
 III of the United States Constitution; or (v) a waiver of AIG’s right to move to withdraw the
 reference with respect to the subject matter of this Proof of Claim, any objection thereto or other
 proceeding which may be commenced in the Debtors’ bankruptcy cases or otherwise involving
 AIG.

                 12.     Reservation of Rights. In executing and filing this Proof of Claim, AIG:
 (i) does not waive any right or rights that it has or may have against any other persons liable for
 all or part of the claim set forth herein; (ii) expressly reserves the right to amend or supplement
 this Proof of Claim in any respect; (iii) expressly reserves the right to assert all claims, causes of
 action, defenses, offsets or counterclaims; and (iv) expressly reserves the right to contest
 insurance coverage in the event of each or any claim that may be tendered by the Debtors for
 coverage.




                                                   4
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  Fill in this information to identify the case:


  Debtor 1          Answers Holdings, Inc., et al.

  Debtor 2
  (Spouse, if filing)

  United States Bankruptcy Court for the: Southern                          District of: New York
                                                                                       (State)
  Case number 17-10496




 Official Form 410
 Proof of Claim                                                                                                                                                           04/16
 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make a
 request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents
 that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contrac ts, judgments, mortgages, and
 security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


 Part 1:       Identify the Claim

1. Who is the current
   creditor?                           AIG Property Casualty, Inc. and its affiliates identified on the Addendum hereto

                                       Name of the current creditor (the person or entity to be paid for this claim)

                                       Other names the creditor used with the debtor


2. Has this claim been                        No
   acquired from
   someone else?                          Yes. From whom?

3. Where should notices                Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                             different)
   creditor be sent?
                                       AIG Property Casualty, Inc., Attn: Kevin J. Larner, Esq.
   Federal Rule of                     Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)
                                       175 Water Street, 15th Floor
                                       Number        Street                                                        Number     Street


                                       New York, NY 10038
                                       City                      State               ZIP Code                      City                    State               ZIP Code

                                                                                                                   Contact phone
                                       Contact phone (212) 458-7101

                                                                                                                   Contact email
                                       Contact email    kevin.larner@aig.com


                                       Uniform claim identifier for electronic payments in chapter 13 (if you use one):




4. Does this claim amend                  No
   one already filed?
                                              Yes. Claim number on court claims registry (if known)                                    Filed on:
                                                                                                                                                   MM /   DD     / YYYY


5. Do you know if anyone                      No
   else has filed a proof of
   claim for this claim?                      Yes. Who made the earlier filing?




  Official Form 410                                                              Proof of Claim                                                                           page 1
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 Part 2:      Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number            No
   you use to identify the
   debtor?                           Yes. Last 4 digits of the debtor’s account number you use to identify the debtor:        0     4      9      6



7. How much is the claim?        $8,473.00                                        Does this amount include interest of other charges?
                                                                                      No
                                                                                      Yes Attach statement itemizing interest, fees, expenses or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 SEE ATTACHED


9. Is all or part of the claim       No
   secured?
                                     Yes. The claim is secured by a lien on property.
                                             Nature of property:
                                                Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                              Attachment (Official Form 410-A) with this Proof of Claim.
                                                Motor vehicle
                                                Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of as security interest (for example,
                                             a mortgage, lien, certificate of title, financing statement, or other document that shows the liens has been filed or
                                             recorded.)


                                             Value of property:                              $
                                             Amount of the claim that is secured:            $

                                             Amount of the claim that is unsecured:          $                       (The sum of the secured and unsecured
                                                                                                                    amounts should match the amount in line 7)


                                             Amount necessary to cure any default as of the date of the petition: $


                                             Annual Interest Rate (when case was filed)          %
                                                Fixed
                                                Variable


10. Is the claim based on a          No
    lease?
                                     Yes. Amount necessary to cure any default as of the date of the petition.           $


11. Is the claim subject to a        No
    right of setoff?
                                     Yes. Identify the property: SEE ATTACHED




  Official Form 410                                                    Proof of Claim                                                                      page 2
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12. Is all or part of the claim             No
    entitled to priority under
                                        Yes. Check all that apply:                                                                             Amount entitled to priority
    11 U.S.C. § 507(a)?
    A claim may be partly                        Domestic support obligations (including alimony and child support) under
    priority and partly                           11 U.S.C. § 507(a)(1)(A) or (a)(1)(B)                                                        $
    nonpriority. For example,
                                                 Up to $2,775* of deposits toward purchase, lease, or rental of property or
    in some categories, the law                                                                                                                $
    limits the amount entitled to                 services for personal, family, or household use. 11 U.S.C. § 507(a)(7).
    priority.                                    Wages, salaries, or commissions (up to $12,475*) earned within 180 days
                                                 before the bankruptcy petition is filed or the debtor’s business ends,                        $
                                                 whichever is earlier. 11 U.S.C. § 507(a)(4).
                                                 Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                         $
                                                 Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                             $
                                                 Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                             $
                                            * Amounts subject to adjustment on 4/01/19 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:      Sign Below

 The person completing this         Check the appropriate box:
 proof of claim must sign
 and date it.                           I am the creditor.
 FRBP 9011(b).                              I am the creditor’s attorney or authorized agent.
 If you file this claim                 I am the trustee, of the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts           I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature is.
                                    I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 A person who files a               amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 fraudulent claim could be
 fined up to $500,000,
                                    I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 imprisoned for up to 5
                                    and correct.
 years, or both.
 18 U.S.C. §§ 152, 157, and
 3751.                              I declare under penalty of perjury that the foregoing is true and correct.

                                    Executed on date        04          03          2017
                                                             MM / DD / YYYY



                                       Signature

                                    Print the name of the person who is completing and signing this claim:

                                    Name                         Kevin J. Larner
                                                                 First Name                               Middle Name                         Last Name\

                                    Title                        Authorized Representative

                                    Company                      AIG Property Casualty, Inc.
                                                                 Identify the corporate servicers as the company if the authorized agent is a servicer.

                                    Address                      175 Water Street, 15th Floor
                                                                 Number            Street

                                                                 New York, NY 10038
                                                                 City                                                   State                 ZIP Code

                                    Contact phone                (212) 458-7101                                     Email         kevin.larner@aig.com




  Official Form 410                                                           Proof of Claim                                                                        page 3
                                                                                            Answers Holdings, Inc.
                                                                                           Petition Date: 03/03/2017
                                                                                          Policy List Date: 03/08/2017
                                                                                                                                                                                      Underwriter   Underwriter
  Policy #       Profit Center         Branch           Major Class        Ultimate D&B   Account #           Insured Name            Writing Company       Effective    Expiration
                                                                                                                                                                                      Last Name     First Name
00013950186   04 - CORPORATE ACC57 - BALTIMORE      D & O - CLAIMS MADE     926446027     844945407     ANSWERS CORPORATION   ILLINOIS NATIONAL INS CO      2010-12-09   2017-04-14
00005187505   39 - PRIVATE AND N15 - DETROIT        D & O - CLAIMS MADE     926446027     74931820      FORESEE RESULTS INC   NATIONAL UNION FIRE INS.CO.   2003-10-15   2004-10-15
00003833858   39 - PRIVATE AND N15 - DETROIT        D & O - CLAIMS MADE     926446027     74931820      FORESEE RESULTS INC   NATIONAL UNION FIRE INS.CO.   2004-10-15   2005-10-15
00009390858   39 - PRIVATE AND NO15 - DETROIT       D & O - CLAIMS MADE     926446027     74931820      FORSEE RESULTS INC    NATIONAL UNION FIRE INS.CO.   2002-10-15   2003-10-15
                                                                                                                                                                                                                                      17-10496-smb




00002784760   05 - SPECIALTY PROF03 - SAN FRANCISCO LIAB(O/T AUTO)BI CLM        0          754433       ANSWERS INC           AIG SPECIALTY INS CO          2000-03-17   2001-03-17
00009125222   05 - SPECIALTY PROF03 - SAN FRANCISCO LIAB(O/T AUTO)BI CLM        0          754433       ANSWERS INC           AIG SPECIALTY INS CO          1999-03-17   2000-03-17
00009540889   13 - SPECIALTY WC 70 - A.I. RISK SPEC WORKMENS COMPEN 945348274             945348274     ANSWERS, INC.         AMERICAN HOME ASSURANCE CO    2004-09-01   2005-09-01
00003284092   13 - SPECIALTY WC 63 - KANSAS CITY WORKMENS COMPEN 945348274                945348274     ANSWERS, INC.         AMERICAN HOME ASSURANCE CO    2004-09-01   2005-09-01
00007837382   13 - SPECIALTY WC 70 - A.I. RISK SPEC WORKMENS COMPEN 945348274             945348274     ANSWERS, INC.         AMERICAN HOME ASSURANCE CO    2003-09-01   2004-09-01
00005366508   13 - SPECIALTY WC 70 - A.I. RISK SPEC WORKMENS COMPEN         41280954      41280954      ANSWERS, INC.         AMERICAN HOME ASSURANCE CO    2002-09-01   2003-09-01
                                                                                                                                                                                                                                      Doc 163
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                                       Debtors’ List

 17-10496                Answers Holdings, Inc.
                         aka Answers.com
                         aka Multiply
                         aka Multiply Media

 17-10498                Easy2 Technologies, Inc.

 17-10500                ForeSee Results, Inc.

 17-10501                ForeSee Session Replay, Inc.

 17-10502                More Corn, LLC

 17-10503                Multiply Media, LLC

 17-10504                Redcan, LLC

 17-10506                RSR Acquisition, LLC

 17-10507                Upbolt, LLC

 17-10495                Webcollage Inc

 17-10497                Answers Corporation
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AS OF DATE :                            3/15/2017
PAPER COMPANY
INSURED:                        ANSWERS, INC. & ATS, LLC
POLICY NUMBER:                     7837382-01103244
POLICY PERIOD:                       9/1/2003 - 2004
CANCEL DATE:
PRODUCER:                      LOCKTON COMPANIES LLC

                                   PREMIUM AMOUNT
NEW/RENEWAL PREMIUM                   $73,718.00
CANCELLATION
ENDORSEMENT                           ($15,392.00)
AUDIT PREMIUM                          $24,748.00
REVISED AUDIT

POLICY PREMIUM                         $83,074.00

SURCHARGES/FEES
TAXES
WAIVED FEES
APPLIED FROM POLICY
LESS PAYMENTS                          -$74,601.00
AMOUNT MARKED-OFF                       $8,473.00
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                                              POLICY COVER PAGE


         Date Printed:      03/12/05                         Policy/Quote Number:   WC   783-73-82
         Time Printed:      070832




                          Underwriter Name:                LUCERO, REYNALDO
                          Issuing Office Division:         013
                          Issuing Office Branch:           52
                          Issuing Office Region:           005
                          Operator Name:                   WASLIK, JENNIFER
                          Operator Telephone:              908-679-3125
                          Transaction Type:                AUDF
                          Set Copy Name:                   COLLECTION COPY
                          Set Copy Mailing Instructions:




         EPS TRACKING-ID: WC 00783738200005
         JOB-ID:          *** ANYI620D ***



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  AMERICAN HOME ASSURANCE COMPANY
  WORKERS' COMPENSATION INSURANCE                                             AUDIT ADVICE
  175 WATER STREET - EXECUTIVE OFFICES, NEW YORK, NY 10038

  INSURED        ANSWERS, INC.                                           POLICY PERIOD
                                                                         FROM: 09/01/03      TO: 09/01/04
                 ATTN: CYNTHIA CHAMBLISS
                 201 E. ELDON ST. STE. 102                               AUDIT PERIOD
                 HERNDON, VA 20170-0000                                  FROM: 09/01/03    TO: 09/01/04
                                                                         CANCELLED: [ ] PRO-RATA
  PRODUCER LOCKTON COMPANIES INC                                                      [ ] SHORT RATE
                 444 W 47TH ST
                 STE 900                                                 BUREAU ID:   450496901
                 KANSAS CITY, MO 64112-4239
                                                                         AUDIT TYPE: PHYSICAL
  FOR STATE OF:        Virginia                                          ISSUE DATE: 03/12/05
DIVISION:      BRANCH:                                   POLICY NO:                    TYPE OF ADJUSTMENT:
                                                         WC   783-73-82                   FINAL
  013           PHOENIX                                  -------------------------
                                                         XXX-XX-XXXX-00
                      DESCRIPTION                         CODE        EXPOSURE        RATE          PREMIUM
PERIOD:     09/01/03 - 09/01/04

RATING GROUP: 0001-01
LOC NO 0001
ANSWERS, INC.
2015 SPRING ROAD, STE 600
OAK BROOK, VA 60523-0000

BUS CO.: ALL OTHER EMPLOYEES & DRIVERS                   7382            1,657,958     4.45                 73,779

CLERICAL OFFICE EMPLOYEES NOC.                           8810              15,155      0.18                    27

TOTAL CLASSIFICATION PREMIUM                                                                                73,806

TOTAL FOR SPLIT PERIOD:        09/01/03 - 09/01/04

TOTAL CLASSIFICATION PREMIUM                                                                                73,806
INCREASE LIMITS                                  3.30%   9812                                                2,436
TOTAL UNMODIFIED PREMIUM                                                                                    76,242
EXPERIENCE PREMIUM          (CONTINGENT)        1.18     9898                                               13,724
MODIFIED STANDARD PREMIUM                                                                                   89,966




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  AMERICAN HOME ASSURANCE COMPANY
  WORKERS' COMPENSATION INSURANCE                                            AUDIT ADVICE
  175 WATER STREET - EXECUTIVE OFFICES, NEW YORK, NY 10038

  INSURED        ANSWERS, INC.                                          POLICY PERIOD
                                                                        FROM: 09/01/03      TO: 09/01/04
                 ATTN: CYNTHIA CHAMBLISS
                 201 E. ELDON ST. STE. 102                              AUDIT PERIOD
                 HERNDON, VA 20170-0000                                 FROM: 09/01/03    TO: 09/01/04
                                                                        CANCELLED: [ ] PRO-RATA
  PRODUCER LOCKTON COMPANIES INC                                                     [ ] SHORT RATE
                 444 W 47TH ST
                 STE 900                                                BUREAU ID:   450496901
                 KANSAS CITY, MO 64112-4239
                                                                        AUDIT TYPE: PHYSICAL
  FOR STATE OF:        Virginia                                         ISSUE DATE: 03/12/05
DIVISION:      BRANCH:                                  POLICY NO:                    TYPE OF ADJUSTMENT:
                                                        WC   783-73-82                   FINAL
  013           PHOENIX                                 -------------------------
                                                        XXX-XX-XXXX-00
                      DESCRIPTION                        CODE        EXPOSURE        RATE          PREMIUM
TOTAL FOR STATE Virginia

MODIFIED STANDARD PREMIUM                                                                                  89,966
UNDISCOUNTED PREMIUM                                                                                       89,966
PREMIUM DISCOUNT                              -10.30%   0063                                               -9,266
DISCOUNTED PREMIUM                                                                                         80,700
EXPENSE CONSTANT                                        0900                                                  160
TERRORISM RISK INS ACT 2002                     3.00%   9740                                                2,214
TOTAL PREMIUM                                                                                              83,074
STATE FINAL TOTAL                                                                                          83,074

TOTAL VA REMUNERATION:                   1,673,113




                                              THIS IS NOT A BILL




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    AMERICAN HOME ASSURANCE COMPANY
    WORKERS' COMPENSATION INSURANCE
                                                                             AUDIT ADVICE SUMMARY
    70 PINE STREET - EXECUTIVE OFFICES, NEW YORK, NY 10270

    INSURED       ANSWERS, INC.
                                                                       POLICY PERIOD
                  ATTN: CYNTHIA CHAMBLISS                              FROM: 09/01/03         TO: 09/01/04
                  201 E. ELDON ST. STE. 102
                  HERNDON, VA 20170-0000                               AUDIT PERIOD
                                                                       FROM: 09/01/03    TO: 09/01/04
                                                                                    [ ] PRO-RATA
    PRODUCER LOCKTON COMPANIES INC                                     CANCELLED: [ ] SHORT RATE
                  444 W 47TH ST
                  STE 900
                  KANSAS CITY, MO 64112-4239
                                                                       AUDIT TYPE:      PHYSICAL

                                                                       ISSUE DATE: 03/12/05
DIVISION:        BRANCH:                               POLICY NO:                         TYPE OF ADJUSTMENT:
   013           PHOENIX                               WC   783-73-82                     FINAL
                                                       -------------------------
                                                       XXX-XX-XXXX-00
                                                                                 TAXES/ASSESSMENTS/
                                       DESCRIPTION                                  SURCHARGES        PREMIUM

CONTINGENT      VA MODIFICATION APPLIED. THIS IS SUBJECT TO REVISION
WHEN AN ACTUAL MODIFICATION IS ISSUED BY THE BUREAU.

If you have questions about your audit, please call Customer Service at
(800) 645-2259 or send inquiries to PO Box 409, Parsippany, NJ 07054-0409.

TOTAL POLICY REMUNERATION:         1,673,113




                                                   AUDIT EARNED PREMIUM AMOUNT                               83,074
                                                 PRIOR ESTIMATED EARNED AMOUNT                               58,326
                                                            TOTAL AP/RP AMOUNT                               24,748
                                                        TOTAL AUDIT ADJUSTMENT                               24,748

                                              THIS IS NOT A BILL
PRIOR ESTIMATED EARNED AMOUNT IS THE ORIGINAL POLICY PREMIUM AND ALL PREMIUM BEARING ENDORSEMENTS PLUS
INTERIM AUDIT ADJUSTMENTS, IF APPLICABLE.
THIS AUDIT ADJUSTMENT DOES NOT REFLECT THE ACTUAL PREMIUM DUE FROM OR TO THE INSURED UNLESS ALL AMOUNTS
PREVIOUSLY BILLED HAVE BEEN PAID.




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2IILFLDO)RUP
Proof of Claim                                                                                                                                            12/15
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact LQIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\RQWKLVIRUPRURQDQ\DWWDFKHGGRFXPHQWV$WWDFKUHGDFWHGFRSLHVRIDQ\
GRFXPHQWVWKDWVXSSRUWWKHFODLPVXFKDVSURPLVVRU\QRWHVSXUFKDVHRUGHUVLQYRLFHVLWHPL]HGVWDWHPHQWVRIUXQQLQJDFFRXQWVFRQWUDFWVMXGJPHQWV
PRUWJDJHVDQGVHFXULW\DJUHHPHQWV Do not send original documents; WKH\PD\EHGHVWUR\HGDIWHUVFDQQLQJ,IWKHGRFXPHQWVDUHQRWDYDLODEOH
H[SODLQLQDQDWWDFKPHQW
$SHUVRQZKRILOHVDIUDXGXOHQWFODLPFRXOGEHILQHGXSWRLPSULVRQHGIRUXSWR\HDUVRUERWK86&DQG
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.
Carefully read instructions included with this Proof of Claim before completing.




  Part 1:      Identify the Claim
1. Who is the current creditor?           1DPHRIWKHFXUUHQWFUHGLWRU                      SOFTCHOICE CORPORATION
                                          WKHSHUVRQRUHQWLW\WREHSDLGIRUWKLVFODLP

                                                                                             SOFTCHOICE
                                          2WKHUQDPHVWKHFUHGLWRUXVHGZLWKWKHGHEWRU


2. Has this claim been acquired             1R
   from someone else?                        <HV    )URPZKRP"

3. Where should notices and              Where should notices to the creditor be sent?                    Where should payments to the creditor be sent? (if
   payments to the creditor be                                                                            different)
   sent?
                                           SOFTCHOICE
   )HGHUDO5XOHRI                       1DPH                                                            1DPH
   %DQNUXSWF\3URFHGXUH
   )5%3J
                                            173 DUFFERIN STREET


                                            TORONTO, ONTARIO, M6K 3H7


                                                              416-588-9002
                                          &RQWDFW3KRQH                                                   &RQWDFW3KRQH

                                          &RQWDFWHPDLO       TOM.IANDOLI@SOFTCHOICE.COM                  &RQWDFWHPDLO

                                          8QLIRUPFODLPLGHQWLILHUIRUHOHFWURQLFSD\PHQWVLQFKDSWHULI\RXXVHRQH



4. Does this claim amend one                 1R
   already filed?                            <HV       &ODLP1XPEHURQFRXUWFODLPVUHJLVWU\LINQRZQ                       )LOHG2Q
                                                                                                                                         00''<<<<

5. Do you know if anyone else
                                             1R
   has filed a proof of claim for
   this claim?                               <HV     :KRPDGHWKHHDUOLHUILOLQJ"
             17-10496-smb           Doc 163               Filed 08/15/17 Entered 08/15/17 17:55:07                                  Main Document
                                                                      Pg 106 of 125

   Part 2:     Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number you          1R
   use to identify the debtor?                                                                                                            7851
                                        <HV     /DVWGLJLWVRIWKHGHEWRU
VDFFRXQWRUDQ\QXPEHU\RXXVHWRLGHQWLI\WKHGHEWRU


7. How much is the claim?                    23235.97                                 Does this amount include interest or other charges?
                                                                                           1R
                                                                                           <HV      $WWDFKVWDWHPHQWLWHPL]LQJLQWHUHVWIHHVH[SHQVHVRURWKHU
                                                                                                    FKDUJHVUHTXLUHGE\%DQNUXSWF\5XOHF$


8. What is the basis of the              ([DPSOHV*RRGVVROGPRQH\ORDQHGOHDVHVHUYLFHVSHUIRUPHGSHUVRQDOLQMXU\RUZURQJIXOGHDWKRUFUHGLWFDUG
   claim?
                                         $WWDFKUHGDFWHGFRSLHVRIDQ\GRFXPHQWVVXSSRUWLQJWKHFODLPUHTXLUHGE\%DQNUXSWF\5XOHF
                                         /LPLWGLVFORVLQJLQIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\VXFKDVKHDOWKFDUHLQIRUPDWLRQ
                                            GOODS SOLD


9. Is all or part of the claim    1R
   secured?                       <HV       7KHFODLPLVVHFXUHGE\DOLHQRQSURSHUW\

                                          Nature of property:
                                               5HDO(VWDWH ,IWKHFODLPLVVHFXUHGE\WKHGHEWRU
VSULQFLSDOUHVLGHQFHILOHD Mortgage Proof of Claim
                                                            Attachment 2IILFLDO)RUP$ZLWKWKLV Proof of Claim
                                               0RWRU9HKLFOH

                                               2WKHU      'HVFULEH


                                            Basis for perfection:
                                            $WWDFKUHGDFWHGFRSLHVRIGRFXPHQWVLIDQ\WKDWVKRZHYLGHQFHRISHUIHFWLRQRIDVHFXULW\LQWHUHVWIRUH[DPSOH
                                            DPRUWJDJHOLHQFHUWLILFDWHRIWLWOHILQDQFLQJVWDWHPHQWRURWKHUGRFXPHQWWKDWVKRZVWKHOLHQKDVEHHQILOHGRU
                                            UHFRUGHG


                                            Value of Property:                                $
                                            Amount of the claim that is secured:              $

                                            Amount of the claim that is unsecured:            $                            7KHVXPRIWKHVHFXUHGDQG
                                                                                                                           XQVHFXUHGDPRXQWVVKRXOGPDWFKWKH
                                                                                                                           DPRXQWLQOLQH


                                            Amount necessary to cure any default as of the date of the petition:                $


                                            Annual Interest Rate:     ZKHQFDVHZDVILOHG       ____________%
                                               )L[HG
                                               9DULDEOH



10. Is this claim based on a      1R
    lease?                        <HV       Amount necessary to cure any default as of the date of the petition.               $

11. Is this claim subject to a    1R
    right of setoff?              <HV       ,GHQWLI\WKHSURSHUW\


12. Is this claim for the value   1R
    of goods received by the      <HV       $PRXQWRIE&ODLP $
    debtor 20 days before the
    commencement date of
    this case (11 U.S.C.
    §503(b)(9)).?
             17-10496-smb             Doc 163             Filed 08/15/17 Entered 08/15/17 17:55:07                                      Main Document
13. Is all or part of the claim      1R
                                                                      Pg 107 of 125                                                            Amount entitled to priority
    entitled to priority under       <HV      Check all that apply
    11 U.S.C. § 507(a)?
                                          'RPHVWLFVXSSRUWREOLJDWLRQVLQFOXGLQJDOLPRQ\DQGFKLOGVXSSRUWXQGHU
                                          86&D$RUD%                                                                  $
    $FODLPPD\EHSDUWO\
    SULRULW\DQGSDUWO\
                                          8SWRRIGHSRVLWVWRZDUGSXUFKDVHOHDVHRUUHQWDORISURSHUW\RUVHUYLFHVIRU
    QRQSULRULW\)RUH[DPSOH
                                          SHUVRQDOIDPLO\RUKRXVHKROGXVH86&D                                             $
    LQVRPHFDWHJRULHVWKH
    ODZOLPLWVWKHDPRXQW
                                          :DJHVVDODULHVRUFRPPLVVLRQVXSWRHDUQHGZLWKLQGD\VEHIRUHWKH
    HQWLWOHGWRSULRULW\
                                          EDQNUXSWF\SHWLWLRQLVILOHGRUWKHGHEWRU
VEXVLQHVVHQGVZKLFKHYHULVHDUOLHU                  $
                                          86&D

                                          7D[HVRUSHQDOWLHVRZHGWRJRYHUQPHQWDOXQLWV86&D                                   $

                                          &RQWULEXWLRQVWRDQHPSOR\HHEHQHILWSODQ86&D                                        $


                                          2WKHU6SHFLI\VXEVHFWLRQRI86&DBBBWKDWDSSOLHV                                     $

                                     $PRXQWVDUHVXEMHFWWRDGMXVWPHQWRQDQGHYHU\\HDUVDIWHUWKDWIRUFDVHVEHJXQRQRUDIWHUWKHGDWHRIDGMXVWPHQW




   Part 3:         Sign Below
The person completing             Check the appropriate box:
this proof of claim must
                                     ,DPWKHFUHGLWRU
sign and date it.    FRBP
9011(b).                             ,DPWKHFUHGLWRU
VDWWRUQH\RUDXWKRUL]HGDJHQW
                                     ,DPWKHWUXVWHHRUWKHGHEWRURUWKHLUDXWKRUL]HGDJHQW%DQNUXSWF\5XOH
,I\RXILOHWKLVFODLP
HOHFWURQLFDOO\)5%3                ,DPWKHJXDUDQWRUVXUHW\HQGRUVHURURWKHUFRGHEWRU%DQNUXSWF\5XOH
DDXWKRUL]HV
FRXUWVWRHVWDEOLVKORFDO        ,XQGHUVWDQGWKDWDQDXWKRUL]HGVLJQDWXUHRQWKLV Proof of Claim VHUYHVDVDQDFNQRZOHJPHQWWKDWZKHQFDOFXODWLQJWKH
UXOHVVSHFLI\LQJZKDWD
VLJQDWXUHLV                     DPRXQWRIWKHFODLPWKHFUHGLWRUJDYHWKHGHEWRUFUHGLWIRUDQ\SD\PHQWVUHFHLYHGWRZDUGWKHGHEW

                                  ,KDYHH[DPLQHGWKHLQIRUPDWLRQLQWKLV Proof of Claim DQGKDYHDUHDVRQDEOHEHOLHIWKDWWKHLQIRUPDWLRQLVWUXH
A person who files a              DQGFRUUHFW
fraudulent claim could be
fined up to $500,000,             ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJLVWUXHDQGFRUUHFW
imprisoned for upt to 5
years, or both.                                        04/18/2017
18 U.S.C. §§ 152, 157, and        ([HFXWHGRQGDWH
3571.                                                  00''<<<<

                                  TOM IANDOLI

                                     6LJQDWXUH


                                  Print the name of the person who is completing and signing this claim:

                                                       TOM IANDOLI
                                  1DPH


                                                       CREDIT SUPERVISOR
                                  7LWOH

                                                       SOFTCHOICE
                                  &RPSDQ\
                                                       ,GHQWLI\WKHFRUSRUDWHVHUYLFHUDVWKHFRPSDQ\LIWKHDXWKRUL]HGDJHQWLVDVHUYLFHU



                                  $GGUHVV                 173 DUFFERIN STREET
                                                          TORONTO, ONTARIO, M6K 3H7




                                                       416-588-9002                                                         TOM.IANDOLI@SOFTCHOICE.COM
                                  &RQWDFW3KRQH                                                          (PDLO
 17-10506-smb Doc
17-10496-smb  Doc163
                  5 Filed 07/26/17
                      Filed 08/15/17 Entered
                                      Entered 07/26/17 16:33:52
                                                08/15/17 17:55:07 Main
                                                                   MainDocument
                                                                        Document
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                                  Pg  1 ofof1125



                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF NEW YORK
                                           NEW YORK DIVISION




 IN RE:     RSR ACQUISITION, LLC                                               Chapter 11
                                                                               Case Number: 17-10506




                                    WITHDRAWAL OF PROOF OF CLAIM


         Creditor, T Mobile/T-Mobile USA Inc by American InfoSource LP as agent, hereby withdraws its Proof
 of Claim, filed on 03/16/2017, marked as claim number 2 on the court's claims register, for the account number
 ending in 4586, and in the amount of $597.60.




 Dated: 07/26/2017


                                                                     /s/ Amanda Matchett


                                                                     T Mobile/T-Mobile USA Inc by American
                                                                     InfoSource LP as agent
                                                                     4515 N Santa Fe Ave
                                                                     Oklahoma City, OK 73118




 Reference Number: 5836871Withdraw


 4586
 17-10506-smb Doc
17-10496-smb  Doc163
                  4 Filed 07/26/17
                      Filed 08/15/17 Entered
                                      Entered 07/26/17 16:32:02
                                                08/15/17 17:55:07 Main
                                                                   MainDocument
                                                                        Document
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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF NEW YORK
                                           NEW YORK DIVISION




 IN RE:     RSR ACQUISITION, LLC                                               Chapter 11
                                                                               Case Number: 17-10506




                                    WITHDRAWAL OF PROOF OF CLAIM


         Creditor, T Mobile/T-Mobile USA Inc by American InfoSource LP as agent, hereby withdraws its Proof
 of Claim, filed on 03/16/2017, marked as claim number 1 on the court's claims register, for the account number
 ending in 0924, and in the amount of $1,755.99.




 Dated: 07/26/2017


                                                                     /s/ Amanda Matchett


                                                                     T Mobile/T-Mobile USA Inc by American
                                                                     InfoSource LP as agent
                                                                     4515 N Santa Fe Ave
                                                                     Oklahoma City, OK 73118




 Reference Number: 5836870Withdraw


 0924
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17-10496-smb   Doc 163   Filed 08/15/17 Entered 08/15/17 17:55:07   Main Document
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17-10496-smb   Doc 163   Filed 08/15/17 Entered 08/15/17 17:55:07   Main Document
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17-10496-smb   Doc 163   Filed 08/15/17 Entered 08/15/17 17:55:07   Main Document
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17-10496-smb   Doc 163   Filed 08/15/17 Entered 08/15/17 17:55:07   Main Document
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                                               120    2

                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW YORK


 Chapter 11

 In re: Answers Holdings Inc

 Case Number: 17-10496 SMB

 Claim Number: 10 for $560.00

                  DEBTOR



           WITHDRAWAL OF NOTICE BY COMMISSIONER OF MASSACHUSETTS
                   DEPARTMENT OF REVENUE PROOF OF CLAIM


       Please take notice that based upon further information provided by the debtor,

 Michael J. Heffernan, as he is Commissioner of Revenue for the Commonwealth of

 Massachusetts (hereinafter, "MDOR"), by and through his undersigned agent and attorney-in-fact,

 hereby withdraws the Proof of Claim By the Commissioner Of Massachusetts

 Department of Revenue.




                                             MICHAEL J. HEFFERNAN
                                             COMMISSIONER
                                             MASSACHUSETTS DEPARTMENT OF REVENUE


                                             By his duly authorized agent,


                                             /s/ Kendra Ye
                                             Massachusetts Department of Revenue
                                             Bankruptcy Unit - Collections Bureau
                                             100 Cambridge Street, P.O. Box 9564
                                             Boston, MA 02114-9564
                                             (617) 626-3875
17-10496-smb        Doc 159
                        163      Filed 08/09/17
                                       08/15/17 Entered 08/09/17
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                                                                   17:55:07               Main Document
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                                                121    2


                           MASSACHUSETTS DEPARTMENT OF REVENUE
                           COLLECTIONS BUREAU - BANKRUPTCY UNIT

                               100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
 Michael J. Heffernan
                                    PO BOX 9564, BOSTON, MA 02114-9564
 Commissioner
                                  Phone: (617) 626-3875 Fax: (617) 626-3796


 In re: Answers Holdings Inc                                              Chapter 11
                                                                          Case Number: 17-10496
                                                                          SMB

                                       CERTIFICATE OF SERVICE

       I, Kendra Ye, hereby certify that I have served the attached Commissioner of the

 Massachusetts Department of Revenue's Withdrawal of Proof of Claim By Commissioner Of

 Massachusetts Department of Revenue, by first class mail, postage prepaid, upon parties or persons

 appearing on the accompanying SERVICE LIST attached hereto who were not listed as being

 served electronically upon.




                                                     Christopher T. Greco
                                                     601 Lexington Avenue
                                                     New York, NY 10022-4611



                                                     Chapter 11 Trustee
                                                     201 Varick St, Unit 1006
                                                     New York, NY 10014




                                                     /s/ Kendra Ye
                                                     Massachusetts Department of Revenue
                                                     08/09/2017
17-10496-smb   Doc 160
                   163   Filed 08/10/17
                               08/15/17 Entered 08/10/17
                                                  08/15/17 16:47:11
                                                           17:55:07   Main Document
                                     PgPg 1 of 125
                                        122    1
17-10496-smb Doc
17-10496-smb Doc 163
                 161         08/14/17 Entered 08/14/17
                       Filed 08/15/17           08/15/17 19:21:12
                                                         17:55:07 Main
                                                                  Main Document
                                                                       Document
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                                      123 of 1
                                             125
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                                    Exhibit C

                                  Closing Report
17-10496-smb   Doc 163   Filed 08/15/17 Entered 08/15/17 17:55:07   Main Document
                                     Pg 125 of 125
